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COUNSEL FOR THE DEBTOR

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

IN RE:                                                   §    CHAPTER 7
                                                         §
WITH PURPOSE, INC.,                                      §    CASE NO. 23-30246-7
                                                         §
Debtor. 1                                                §
                                                         §

                GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
        METHODS, AND DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULE
        OF ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

The above-captioned debtor (the “Debtor”), by and through its undersigned counsel, is filing its
Schedule of Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (the
“SOFA”) in the United States Bankruptcy Court for the Northern District of Texas, Dallas
Division (the “Bankruptcy Court”). The Debtor prepared the Schedules and SOFA in accordance
with § 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

These Global Notes and Statement of Limitations, Methods, and Disclaimers Regarding the
Debtor’s Schedules of Assets and Liabilities and Statements of Financial Affairs (collectively, the
“Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of the
Schedules and SOFA. These Global Notes should be referred to and reviewed in connection with
any review of the Schedules and SOFA.

1
    The Debtor’s address is 11700 Preston Road, Suite 660-394, Dallas, TX 75230.

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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS                              1
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The Schedules and SOFA have been prepared by the Debtor’s management and are unaudited and
subject to further review and potential revision. In preparing the Schedules and SOFA, the Debtor
relied on financial data derived from its books and records as it was available at the time of
preparation. The Debtor’s management and advisors have made reasonable efforts to ensure that
they are as accurate and complete as possible under the circumstances. However, subsequent
information or discovery may result in material changes to the Schedules and SOFA, and
inadvertent errors or omissions may exist. Notwithstanding any such discovery or new information
however, the Debtor may, but shall not be required to, update the Schedules and SOFA.

Reservation of Rights. Nothing contained in the Schedules and SOFA or these Global Notes shall
constitute a waiver of any of the Debtor’s rights or an admission with respect to its bankruptcy
case, including, but not limited to, any issues involving objections to claims, substantive
consolidation, equitable subordination, defenses, characterization or recharacterization of
contracts, assumption or rejection of contracts under the provisions of chapter 3 of the Bankruptcy
Code, or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or any
other relevant applicable laws to recover assets or avoid transfers.

Description of the Case and “as of” Information Date. On February 8, 2023 (the “Petition
Date”), the Debtor filed a petition for relief with the Bankruptcy Court under chapter 7 of the
Bankruptcy Code.

Given the nature of the case and the Debtor’s assets, the valuations given are estimates at varying
points in time. This is because those values fluctuate in time and given the fractured nature of the
Debtor’s allegedly foreclosed upon assets and lack of access to its own books, records, and
intellectual property, the Debtor is presenting these filings in its best attempt to “mark to market”
the types of assets its owns in each category of assets and liabilities.

Amendment. Although reasonable efforts were made to file complete and accurate Schedules and
SOFA, inadvertent errors or omissions may exist. Thus, the Debtor reserves all rights, but shall
not be required to, to amend or supplement its Schedules and SOFA from time to time as may be
necessary or appropriate.

Basis of Presentation. Although these Schedules and SOFA may, at times, incorporate
information prepared in accordance with generally accepted accounting principles (“GAAP”), the
Schedules and SOFA do not purport to represent or reconcile financial statements otherwise
prepared or distributed by the Debtor in accordance with GAAP, income tax basis, or otherwise.
To the extent that the Debtor shows more assets than liabilities, this is not an admission that the
Debtor was solvent or insolvent on the Petition Date or at any time prior to the Petition Date.
Likewise, to the extent that the Debtor shows more liabilities than assets, this is not an admission
that the Debtor was solvent or insolvent on the Petition Date or at any time prior to the Petition
Date.

Insiders. For purposes of the Schedules and SOFA, the term “insiders” shall have the meaning set
forth in Bankruptcy Code § 101(31).

Persons listed in the SOFA as insiders have been included for informational purposes only. The
Debtor does not take any position with respect to (a) such person’s influence over the control of

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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS                                2
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the Debtor; (b) the management responsibilities or functions of such individual; (c) the decision-
making or corporate authority of such individual; or (d) whether such individual could successfully
argue that he or she is not an insider under applicable law, including, without limitation, the federal
securities laws, or with respect to any theories of liability or for any other purpose.

Recharacterization. The Debtor has made reasonable efforts to characterize, classify, categorize,
and designate the claims, assets, executory contracts, unexpired leases, and other items reported in
the Schedules and SOFA correctly. The Debtor reserves all rights to recharacterize, reclassify,
recategorize, and redesignate items reported in the Schedules and SOFA at a later time as is
necessary or appropriate as additional information becomes available, including, without
limitation, whether contracts listed herein were executory as of the Petition Date or remain
executory post-petition and whether leases listed herein were unexpired as of the Petition Date or
remain unexpired post-petition.

Summary of Significant Reporting Policies.

Current Market Value and Net Book Value. In many instances, current market valuations are
neither maintained by nor readily ascertainable by the Debtor. The Debtor has used its best efforts
to estimate the assets value or provided that the value is unknown.

Liabilities. Unless otherwise indicated, all liabilities are listed as of the Petition Date.

Credits and Adjustments. The claims of individual creditors are listed as the amounts entered on
the Debtor’s books and records and may not reflect credits, allowances, or other adjustments due
from such creditors to the Debtor. The Debtor reserves all rights with regard to such credits,
allowances, and other adjustments, including the right to assert claims objections and/or setoffs
with respect to the same.

Undetermined Amounts. The description of an amount as “unknown,” “TBD,” or “undetermined”
is not intended to reflect upon the materiality of such amount.

Totals. All totals that are included in the Schedules and SOFA’s represent totals of all currently
known amounts included in the Debtor’s books and records as of the Petition Date. To the extent
that there are undetermined amounts, the actual total may be different from the listed total.

Classifications. Listing a claim (a) on Schedule D as “secured,” (b) on Schedule E as “priority,”
or (c) on Schedule F as “unsecured priority,” or listing a contract or lease on Schedule G as
“executory” or “unexpired” does not constitute an admission by the Debtor of the legal rights of
the claimant or a waiver of the Debtor’s right to recharacterize or reclassify such claim, contract,
or lease.

Claims Description. Any failure to designate a claim on a given Debtor’s Schedules as “disputed,”
“contingent,” or “unliquidated” does not constitute an admission by the Debtor that such amount
is not “disputed,” “contingent,” or “unliquidated.” The Debtor reserves all rights to dispute, or to
assert any offsets or defenses to, any claim reflected on its respective Schedules on any grounds,
including, without limitation, amount, liability, validity, priority, or classification, or to otherwise
subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Listing a claim


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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS                                   3
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does not constitute an admission of liability by the Debtor, and the Debtor reserves the right, but
shall not be required, to amend the Schedules accordingly.

Guarantees and Other Secondary Liability Claims. The Debtor has used reasonable efforts to locate
and identify guarantees and other secondary liability claims (collectively, the “Guarantees”) in
its executory contracts, unexpired leases, secured financing, debt instruments, and other such
agreements. The Debtor’s review of its contracts in such regard is ongoing. Where such Guarantees
have been identified, they have been included in the relevant Schedule for the Debtor. Further,
certain Guarantees embedded in the Debtor’s executory contracts, unexpired leases, secured
financings, debt instruments, and other such agreements may have been inadvertently omitted.
Thus, the Debtor reserves its right to amend the Schedules to the extent that additional Guarantees
are identified. In addition, the Debtor reserves the right, but shall not be required, to amend the
Schedules and SOFA to recharacterize or reclassify any such contract, lease, claim, or Guarantee.

Causes of Action. The Debtor, despite its best efforts, may not have listed all of its causes of action
(filed or potential) against third parties as assets in the Schedules and SOFA. The Debtor reserves
all of its rights with respect to any causes of action they may have, and neither these Global Notes
nor the Schedules and SOFA shall be deemed a waiver of any such causes of action.

Schedule A – Real Property. The Debtor’s failure to list any rights in real property on Schedule
A should not be construed as a waiver of any such rights that may exist, whether known or
unknown at this time.
Schedule B – Personal Property. Personal property owned by the Debtor is listed in the Schedule
B. To the extent that the Debtor has not been able to identify the actual physical location of certain
personal property, the Debtor has reported the address of the Debtor’s principal place of business.

Exclusion of certain intellectual property shall not be construed as an admission that such
intellectual property rights have been abandoned, terminated, assigned, expired by its terms, or
otherwise transferred pursuant to a sale, acquisition, or other transaction.

Schedule D – Creditors Holding Secured Claims. All parties in interest and the Chapter 7
Trustee have whatever rights they may have under the Bankruptcy Code and hereby reserve the
right to dispute or challenge the validity, perfection, or immunity from avoidance of any lien
purported to be granted or perfected in any specific asset to a creditor listed on Schedule D of the
Debtor. Moreover, although the Debtor may have scheduled claims of various creditors as secured
claims for informational purposes, no current valuation of the Debtor’s assets in which such all
creditors may have a lien has been undertaken.

Moreover, as indicated above, parties in interest and the Chapter 7 Trustee, presumably each
reserve all rights to dispute or challenge the secured nature of any such creditor’s claim or the
characterization of the structure of any such transaction or any document or instrument (including,
without limitation, any intercompany agreement) related to such creditor’s claim. The descriptions
in Schedule D are intended to be only a summary. Reference to the applicable agreements and
related documents and a determination of the creditors’ compliance with applicable law is
necessary for a complete description of the collateral and the nature, extent, and priority of any
liens. Nothing in the Global Notes or the Schedules and SOFA shall be deemed a modification or

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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS                                  4
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interpretation of the terms of such agreements or related documents.

Schedule E – Creditors Holding Unsecured Priority Claims. Listing a claim on Schedule E as
“unsecured priority” does not constitute the Debtor taking a position on the legal rights of the
claimant. The Debtor hereby expressly reserves the right for all parties to assert that any claim
listed on Schedule E, does not constitute an unsecured priority claim under § 507 of the Bankruptcy
Code thereby constituting an unsecured nonpriority claim.

The claims listed on Schedule E arose, or were incurred on, various dates and a determination of
each date upon which each claim arose, or was incurred, would be unduly burdensome and cost
prohibitive. Accordingly, not all such dates are included for each claim. All claims listed on
Schedule E, however, appear to have arisen, or to have been incurred, on or before the Petition
Date.

Schedule F – Creditors Holding Unsecured Nonpriority Claims. Listing a claim on Schedule
F as “unsecured nonpriority” does not constitute an admission by the Debtor of any legal rights of
the claimant. The Debtor hereby expressly reserves the right for all parties to assert that any claim
listed on Schedule F does not constitute an unsecured nonpriority claim (including the right to
assert that any such claim constitutes a secured or priority claim). Additionally, noting that a claim
on Schedule F is “subject to setoff” does not constitute an admission by the Debtor of the legal
rights of the claimant. The Debtor hereby expressly reserves the right for all parties to assert that
any claim listed on Schedule F is not subject to setoff or dispute any claim to such setoff.

Certain creditors may assert mechanic’s, materialman’s, or other statutory liens against the Debtor
for amounts listed on Schedule F. The Debtor reserves its right to dispute or challenge the validity,
perfection, or immunity from avoidance of any lien purported to be perfected by a creditor listed
on Schedule F.

The claims listed on Schedule F arose, or were incurred, on various dates, and a determination of
each date upon which each claim arose, or was incurred, would be unduly burdensome and cost
prohibitive. Accordingly, not all such dates are included for each claim. All claims listed on
Schedule F, however, appear to have arisen, or to have been incurred, prior to the Petition Date.

Schedule G – Executory Contracts and Unexpired Leases. Although reasonable efforts have
been made to ensure the accuracy of Schedule G regarding executory contracts and unexpired
leases, the Debtor’s review is ongoing, and inadvertent errors, omissions, or over- inclusion may
have occurred.

The Debtor reserves all of the Chapter 7 Trustee’s and other parties in interest’s rights, claims, and
causes of action with respect to the contracts and agreements listed on Schedule G, including the
right to dispute or challenge the characterization or the structure of any transaction, document, or
instrument. Certain executory agreements may not have been memorialized in writing and could
be subject to dispute. Generally, executory agreements that are oral in nature have not been
included in the Schedule. Further, the Debtor may be a party to various other agreements
concerning real property, such as supplemental agreements, amendments/letter agreements, title
documents, consents, site plans, maps, and other miscellaneous agreements. Such agreements, if
any, are not set forth in Schedule G.

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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS                                 5
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Schedule H – Co-Obligors. Although the Debtor has made every effort to ensure the accuracy of
Schedule H, inadvertent errors, omissions, or inclusions may have occurred. The Debtor hereby
reserves all rights for all parties to dispute the validity, status, and enforceability of any obligations
set forth on Schedule H and to further amend or supplement such Schedule as necessary.

The Debtor further reserves all rights, claims, and causes of action for all parties with respect to
the obligations listed on Schedule H, including the right to dispute or challenge the characterization
or the structure of any transaction, document, or instrument related to a creditor’s claim. The listing
of a contract, guarantee, or other obligation on Schedule H shall not be deemed an admission that
such obligation is binding, valid, or enforceable.

SOFA – Transfers Outside of the Ordinary Course of Business. Nothing in the Debtor’s
response to Question 10 constitutes an admission by the Debtor that such transfers were outside of
the ordinary course of the Debtor’s business.




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GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND DISCLAIMERS                                     6
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                                                                                  Document      Page 7 of 50
Fill in this information to identify the case:

Debtor name           With Purpose, Inc.

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS

Case number (if known)              23-30246
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $         595,956.41

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $         595,956.41


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      29,500,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      10,580,301.74


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $        40,080,301.74




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Fill in this information to identify the case:

Debtor name        With Purpose, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF TEXAS

Case number (if known)      23-30246
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                 number


           3.1.   Frost Bank                                     Checking                        1812                                  $32,522.98




           3.2.   Frost Bank                                     Checking                        8219                                         $23.49


                  Origin Bank
                  The Debtor has been unable to access
                  its account at Origin Bank and the
                  balance as of the Petition Date is
           3.3.   therefore unknown.                             Checking                                                               Unknown




           3.4.   Silicon Valley Bank                            Checking                        9060                                   $2,327.91




           3.5.   Silicon Valley Bank Operating                   Checking                       9056                                   $3,653.32



4.         Other cash equivalents (Identify all)


           4.1.   Silicon Valley Bank Lockbox Account X9496                                                                                   $68.71

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                             page 1
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Debtor            With Purpose, Inc.                                                       Case number (If known) 23-30246
                  Name




5.         Total of Part 1.                                                                                                        $38,596.41
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Prepayments for D&O Insurance
                    $280,000 Premium for Directors & Officers Insurance, National Union Fire Insurance
                    Company of Pittsburgh, PA
           8.1.     $60,432 Premium for Tail Directors & Officers Insurance, Federal Insurance Company                                $340,432.00




9.         Total of Part 2.                                                                                                       $340,432.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                   216,928.00       -                                   0.00 = ....               $216,928.00
                                        face amount                          doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                       $216,928.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                    Valuation method used    Current value of
                                                                                                    for current value        debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Animo Services, LLC - EIN XX-XXXXXXX                       100         %                                           Unknown




Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 2
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          15.2.   GloriFi Securities LLC - EIN XX-XXXXXXX                100           %                                        Unknown



                  GloriFi Receivables Acquisition Company
          15.3.   LLC - EIN XX-XXXXXXX                                   100           %                                        Unknown



                  GloriFi Insurance Holding Company LLC -
          15.4.   EIN XX-XXXXXXX                                         100           %                                        Unknown



                  GloriFi Risk Management Services, LLC -
          15.5.   EIN XX-XXXXXXX                                         100           %                                        Unknown



                  GloriFi Reciprocal Funding Company, LLC -
          15.6.   EIN XX-XXXXXXX                                         100           %                                        Unknown



                  GloriFi Managing General Agency, LLC - EIN
          15.7.   XX-XXXXXXX                                             100           %                                        Unknown


                  GloriFi Insurance Agency Holding Company,
                  LLC f/k/a RubiQon Holdings - EIN
          15.8.   XX-XXXXXXX                                             100           %                                        Unknown


                  GloriFi Risk and Insurance Services, LLC
                  f/k/a RubiQon Risk and Insurance Services -
          15.9.   EIN XX-XXXXXXX                                         100           %                                        Unknown



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:

17.       Total of Part 4.                                                                                                        $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description               Date of the last       Net book value of       Valuation method used     Current value of
                                            physical inventory     debtor's interest       for current value         debtor's interest
                                                                   (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                  page 3
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Debtor       With Purpose, Inc.                                                      Case number (If known) 23-30246
             Name

          The Debtor may have
          some miscellaneous
          marketing materials in
          its possession.                                                     Unknown                                             Unknown




23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                              Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture
          The Debtor has, or may have, limited furniture,
          fixtures, and equipment it purchased that are
          held in its office space. At present, the Debtor
          does not have full records of these items, but
          is in process of obtaining this information and
          will amend and/or supplement this Schedule if
          and when appropriate.                                               Unknown                                             Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          The Debtor has, or may have, limited furniture,
          fixtures, equipment, computers, and office
          equipment it purchased that are held in its
          office space. At present, the Debtor does not
          have full records of these items, but is in
          process of obtaining this information and will
          amend and/or supplement this Schedule if and
          when appropriate.                                                   Unknown                                             Unknown

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 4
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              Name




42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                            Net book value of          Valuation method used     Current value of
                                                                          debtor's interest          for current value         debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           The Debtor owned a variety of Intellectual
           Property assets, including, without limitation,
           software, software assets, trademarks, domain
           names, copyrights, and other intellectual
           property. On or about January 5, 2023, the
           Debtor's Intellectual Property was purportedly
           foreclosed upon by OnPoint Companies, LLC
           as the Collateral Agent for the Secured
           Noteholders. A full and complete list of the
           Software and related IP subject to this
           foreclosure is not available at this time.
           However, the Debtor is attaching hereto (i) a
           list of certain Trademarks and Copyrights held
           or previously held by the Debtor and; (ii) a list
           of Domain Names held or previously held by
           the Debtor.                                                               Unknown                                              Unknown



61.        Internet domain names and websites


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 5
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            Name

         The Debtor owned a variety of Intellectual
         Property assets, including, without limitation,
         software, software assets, trademarks, domain
         names, copyrights, and other intellectual
         property. On or about January 5, 2023, the
         Debtor's Intellectual Property was purportedly
         foreclosed upon by OnPoint Companies, LLC
         as the Collateral Agent for the Secured
         Noteholders. A full and complete list of the
         Software and related IP subject to this
         foreclosure is not available at this time.
         However, a list of the domain names owned by
         the Debtor is included in the attached
         addendum.                                                       Unknown                                        Unknown



62.      Licenses, franchises, and royalties
         The Debtor has or had a variety of licenses
         related to the formation and operation of its
         business. A list of these licenses is not
         available, but the Debtor will supplement this
         response if and when it receives such
         information.                                                    Unknown                                        Unknown



63.      Customer lists, mailing lists, or other compilations
         The Debtor maintains a list of customers and
         account holders.                                                Unknown                                        Unknown



64.      Other intangibles, or intellectual property
         The Debtor owned a variety of Intellectual
         Property assets, including, without limitation,
         software, software assets, trademarks, domain
         names, copyrights, and other intellectual
         property. On or about January 5, 2023, the
         Debtor's Intellectual Property was purportedly
         foreclosed upon by OnPoint Companies, LLC
         as the Collateral Agent for the Secured
         Noteholders. A full and complete list of the
         Software and related IP subject to this
         foreclosure is not available at this time.                      Unknown                                        Unknown



65.      Goodwill
         The Debtor had established significant
         goodwill during the period it operated. Some
         of this goodwill was evidenced by the
         Intellectual Property and other intangible
         assets it owned, such as its software, software
         assets, trademarks, domain names,
         copyrights, and other intellectual property. On
         or about January 5, 2023, the Debtor's
         Intellectual Property was purportedly
         foreclosed upon by OnPoint Companies, LLC
         as the Collateral Agent for the Secured
         Noteholders. A full and complete list of the
         Software and related IP subject to this
         foreclosure is not available at this time.                      Unknown                                        Unknown


Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                             page 6
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              Name




66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Unknown                                                                           Tax year                                   Unknown



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           The Debtor owns significant and valuable causes of
           actions against third parties. Some of these causes of
           action have been filed and are pending, whereas others
           have not been commenced. A list of such causes of
           action is included in the attached addendum and
           incorporated herein by reference.                                                                                            Unknown
           Nature of claim          See attached
           Amount requested          See attached



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 7
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            Name

         The Debtor owns significant and valuable causes of
         actions against third parties. Some of these causes of
         action have been filed and are pending, whereas others
         have not been commenced. A list of such causes of
         action is included in the attached addendum and
         incorporated herein by reference.                                                                                   Unknown
         Nature of claim          See attached
         Amount requested        See attached



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                   Unknown
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                               page 8
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Debtor          With Purpose, Inc.                                                                                  Case number (If known) 23-30246
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $38,596.41

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $340,432.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $216,928.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $595,956.41           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $595,956.41




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 9
           Case 23-30246-mvl7                        Doc 9        Filed 02/09/23 Entered 02/09/23 18:02:52                                     Desc Main
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Fill in this information to identify the case:

Debtor name          With Purpose, Inc.

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

Case number (if known)              23-30246
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
2.1    OnPoint Companies, LLC                       Describe debtor's property that is subject to a lien                  $29,500,000.00                Unknown
       Creditor's Name                              Collateral as Described in Collateral
       As Collateral Agent of                       Agreement, including substantially all of
       Noteholders                                  Debtor's assets but not including various
       c/o Steven T. Holmes                         "Excluded Property" as more fully described
       900 Jackson Street, Suite                    in the Collateral Agreement.
       570
       Dallas, TX 75202
       Creditor's mailing address                   Describe the lien
                                                    Security Agreement
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       On or about June 8, 2022                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                     Disputed


                                                                                                                            $29,500,000.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Banzai Capital Partners LLC
        Address on file                                                                                      Line   2.1




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3
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          Name

      CCR FLP Holdings LP
      500 West 5th Street, Suite 700                                                 Line   2.1
      Austin, TX 78701

      Charles Lynn Hamilton
      Address on file                                                                Line   2.1

      D. Nevill Manning
      2112 Indiana Avenue                                                            Line   2.1
      Lubbock, TX 79410

      Dalton and Susannah Donaldson
      PO BOx 51990                                                                   Line   2.1
      Midland, TX 79710

      DRJ Properties Ltd
      550 W. Texas Avenue                                                            Line   2.1
      Suite 700
      Midland, TX 79701

      J. Paul Manning
      2112 Indiana Avenue                                                            Line   2.1
      Lubbock, TX 79410

      Jake McAlister
      3000 Racquet Club Drive                                                        Line   2.1
      Midland, TX 79705

      Lynwood Partners LLC
      Address on file                                                                Line   2.1

      Magic Rise Group Ltd
                                                                                     Line   2.1

      Margaret Morgan Purvis
      PO Box 51990                                                                   Line   2.1
      Midland, TX 79710

      Matthew Malouf
      Address on file                                                                Line   2.1

      Moriah Investment Partners
      PO Box 5562                                                                    Line   2.1
      Midland, TX 79710

      Neugebauer Family Enterprises, LLC
      PO Box 863376                                                                  Line   2.1
      Plano, TX 75086

      OnPoint GloriFi II, LP
      Address on file                                                                Line   2.1

      Pfluger Revocable Trust
      Address on file                                                                Line   2.1

      Reed Williams
                                                                                     Line   2.1

      Richard H. Coats
      PO Box 2412                                                                    Line   2.1
      Midland, TX 79702




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                   page 2 of 3
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      Spencer Beal
                                                                                    Line   2.1

      The Kevin and Kendra Granger Trust
      Address on file                                                               Line   2.1

      The Peus Family Trust dated 7/3/08
      Address on file                                                               Line   2.1

      Toby and Melissa Neugebauer
      Address on file                                                               Line   2.1

      Word B. Wilson Investments LP
      PO Box 51790                                                                  Line   2.1
      Midland, TX 79710




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                   page 3 of 3
           Case 23-30246-mvl7                      Doc 9        Filed 02/09/23 Entered 02/09/23 18:02:52                                              Desc Main
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Fill in this information to identify the case:

Debtor name        With Purpose, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF TEXAS

Case number (if known)          23-30246
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $67,000.00
          1892 LLC                                                           Contingent
          PO Box 1832                                                        Unliquidated
          Gallatin, TN 37066
                                                                             Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $150,000.00
          AiAdvertising                                                      Contingent
          321 6th Street                                                     Unliquidated
          San Antonio, TX 78215
                                                                             Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $12,000.00
          American Conservative Union Foundation                             Contingent
          1199 N Fairfax Street                                              Unliquidated
          Ste. 500
                                                                             Disputed
          Alexandria, VA 22314
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $16,479.16
          Avalon                                                             Contingent
          1360 East 9th Street                                               Unliquidated
          Ste. 150
                                                                             Disputed
          Cleveland, OH 44114
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 12
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3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $513,557.47
         Blackstone Investments I, LTD                              Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $45,277.50
         BreakAway Loyalty, LLC                                     Contingent
         1805 Old Alabama Road                                      Unliquidated
         Ste. 250
                                                                    Disputed
         Roswell, GA 30076
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $316,678.72
         Buckley, LLP                                               Contingent
         P.O. Box 990                                               Unliquidated
         New York, NY 10008-0990
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $88,000.00
         CE Insurance Services Executive Search                     Contingent
         6013 Bowen Daniel Drive                                    Unliquidated
         Unit 107
                                                                    Disputed
         Tampa, FL 33616
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $519,963.37
         Chapman & Cutler LLP                                       Contingent
         1270 Avenue of the Americas                                Unliquidated
         30th Floor
                                                                    Disputed
         New York, NY 10020-1708
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,985.02
         Cision US Inc                                              Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,937.50
         Collective Dallas                                          Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes




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            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,460.07
         Contentful                                                 Contingent
         1801 California Street                                     Unliquidated
         Ste. 4600
                                                                    Disputed
         Denver, CO 80202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $81,545.60
         Cove Strategies                                            Contingent
         1020 Bernard Street                                        Unliquidated
         Alexandria, VA 22314
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $121,700.00
         Crowe LLP                                                  Contingent
         750 North St. Paul Suite 850
         Dallas, TX 75201
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?  No       Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $239.60
         Crown Limousine                                            Contingent
         P.O. Box 82036                                             Unliquidated
         Austin, TX 78708
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,970.66
         DEC Secure                                                 Contingent
         Digitally Encrypted Communications Group                   Unliquidated
         #408-55 Water Street
                                                                    Disputed
         Vancouver BC V6B 1A1, Canada
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $94,996.19
         Deserve                                                    Contingent
         195 Page Mill Road                                         Unliquidated
         Ste. 109
                                                                    Disputed
         Palo Alto, CA 94306
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $150,050.79
         Diamond McCarthy LLP                                       Contingent
         909 Fannin Street
         Ste. 3700
                                                                    Unliquidated
         Houston, TX 77010                                          Disputed
         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?  No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 12
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            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $869.00
         Echelon Transportation                                     Contingent
         2411 Tivoli Drive                                          Unliquidated
         Cedar Park, TX 78613
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Economic Partners                                          Contingent
         13155 Noel Road                                            Unliquidated
         Ste. 100
                                                                    Disputed
         Dallas, TX 75240
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $660.00
         Emily Williams                                             Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,000.00
         Equifax                                                    Contingent
         4076 Paysphere Circle                                      Unliquidated
         Chicago, IL 60674                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,529.73
         Faegre Drinker Biddle & Reath LLP                          Contingent
         222 Delaware Ave., Suite 1410
         Wilmington, DE 19801
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?  No       Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,000.00
         Finsight                                                   Contingent
         530 7th Ave., 27th Floor                                   Unliquidated
         New York, NY 10018
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $241.42
         Flores & Associates                                        Contingent
         2634 Reynolds Road                                         Unliquidated
         Winston-Salem, NC 27106
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $78,878.66
         FORVIS BKD                                                 Contingent
         Dixon Hughes Goodman                                       Unliquidated
         P.O. Box 602828
                                                                    Disputed
         Charlotte, NC 28260-2828
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,687.50
         FORVIS DHG                                                 Contingent
         Dixon Hughes Goodman                                       Unliquidated
         P.O. Box 602828
                                                                    Disputed
         Charlotte, NC 28260-2828
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,957.50
         Freeman - Leonard VI, LLC                                  Contingent
         PO Box 223561                                              Unliquidated
         Dallas, TX 75000-3561
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,000.00
         Gabriel Strategies                                         Contingent
         14 Bingham Hill Circle                                     Unliquidated
         Rumson, NJ 07760
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $510.72
         Global Relay                                               Contingent
         220 Cambie Street                                          Unliquidated
         2nd Floor
                                                                    Disputed
         Vancouver BC V6B 2M9, Canada
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,008.00
         Greenberg Traurig                                          Contingent
         8400 NW 36th Street                                        Unliquidated
         Ste. 400
                                                                    Disputed
         Doral, FL 33166
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $94,100.79
         Haynes Boone LLP                                           Contingent
         2323 Victory Ave                                           Unliquidated
         Ste. 700
                                                                    Disputed
         Dallas, TX 75219
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,706.25
         Help Systems                                               Contingent
         NW5955                                                     Unliquidated
         P.O. Box 1450
                                                                    Disputed
         Minneapolis, MN 55485-5955
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $22,550.00
         iBeta
         iBeta Quality Assurance                                    Contingent
         2675 S. Abilene Street                                     Unliquidated
         Ste.300                                                    Disputed
         Aurora, CO 80014
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $88,601.13
         Intralinks                                                 Contingent
         P.O. Box 392134                                            Unliquidated
         Pittsburgh, PA 15251-9134
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,081.50
         Jackson Walker                                             Contingent
         2323 Ross Ave                                              Unliquidated
         Ste. 600
                                                                    Disputed
         Dallas, TX 75201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $94,260.00
         JJH Productions- Agile4Solutions                           Contingent
         P.O. Box 4210                                              Unliquidated
         Portsmout, NH 03802-4210
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $185,900.00
         Korn Ferry (Lucas Group)                                   Contingent
         NW 5854                                                    Unliquidated
         P.O. Box 1450
                                                                    Disputed
         Minneapolis, MN 55485-5854
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $517,430.00
         KPMG                                                       Contingent
         3 Chestnut Ridge Road
         Montvale, NJ 07645
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?  No       Yes


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3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $138,942.32
         Locke Lord LLP                                             Contingent
         P.O. Box 301170                                            Unliquidated
         Dallas, TX 75303-1170
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $17,746.00
         Lockton
         Southeast Series of Lockton Companies LL                   Contingent
         3280 Peachtree Road NE                                     Unliquidated
         Ste. 250                                                   Disputed
         Atlanta, GA 30305
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $19,705.84
         Lumen                                                      Contingent
         100 CenturyLink Drive                                      Unliquidated
         Monroe, LA 71203
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,099.65
         Manatt Phelps & Phillips                                   Contingent
         2049 Century Park East                                     Unliquidated
         Ste. 1700
                                                                    Disputed
         Los Angeles, CA 90067-3101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $33,212.52
         Matic Digital                                              Contingent
         3000 Lawrence Street                                       Unliquidated
         #134
                                                                    Disputed
         Denver, CO 80205
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $114,480.00
         Mentor
         Mentor Creative Group, LLC                                 Contingent
         3417 Fremont Ave N                                         Unliquidated
         Ste. 400                                                   Disputed
         Seattle, WA 98103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $255,408.00
         Mercer                                                     Contingent
         P.O. Box 13793                                             Unliquidated
         Newark, NJ 07188-0793
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes


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3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $49,470.45
         Metropolitan Technologies                                  Contingent
         5965 Peacthree Corners East                                Unliquidated
         Suite C-2
                                                                    Disputed
         Norcross, GA 30071
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $118,670.91
         Michael Best Friedrich                                     Contingent
         790 North Water Street                                     Unliquidated
         Ste. 2509
                                                                    Disputed
         Milwaukee, WI 53202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $112,500.00
         Nigel Frank International                                  Contingent
         500 N. Akard Street, Suite 2400                            Unliquidated
         Dallas, TX 75201
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,061.68
         Optum Health                                               Contingent
         PO Box 271629                                              Unliquidated
         Salt Lake City, UT 84127
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,455.00
         Patrick Lara                                               Contingent
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number
                                                                   Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $192,069.45
         Paul Hastings LLP                                          Contingent
         Lockbox 4803                                               Unliquidated
         PO Box 894803
                                                                    Disputed
         Los Angeles, CA 90189-4803
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,350.00
         Red Leader                                                 Contingent
         216 Livingston Dr.                                         Unliquidated
         Hickory Creek, TX 75065
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,925.00
         RedPoint Media LLC                                         Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $52,850.00
         Reed Marketing Consultants                                 Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,193.55
         Relentless Strategies                                      Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $593,435.75
         Resources Global Professionals                             Contingent
         P.O. Box 740909                                            Unliquidated
         Los Angeles, CA 90074-0909                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,058.95
         Retarus                                                    Contingent
         300 Lighting Way                                           Unliquidated
         Suite 315                                                  Disputed
         Secaucus, NJ 07094
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $49,783.90
         Revolution Pictures                                        Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,582.96
         SAP Concur                                                 Contingent
         601 108th Avenue NE Suite 1000                             Unliquidated
         Bellevue, WA 98004                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,890,793.74
         Savana, Inc.                                               Contingent
         50 Valley Stream Parkway                                   Unliquidated
         Malvern, PA 19355                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $957.26
         SendGrid                                                   Contingent
         P.O. Box 735926                                            Unliquidated
         Dallas, TX 75373                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,400.51
         Slate Group                                                Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $133,658.62
         Stinson                                                    Contingent
         P.O. Box 843052                                            Unliquidated
         Kansas City, MO 64184-3052                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $540.35
         T-Mobile                                                   Contingent
         12920 SE 38th Street                                       Unliquidated
         Bellevue, WA 98006                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $87,780.15
         TopTal
         Taso Duval                                                 Contingent
         2810 N. Church Street                                      Unliquidated
         Ste. 36879                                                 Disputed
         Wilmington, DE 19802-4447
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,600.00
         Tower Street - The Cincinnati Insurance                    Contingent
         6200 S. Gilmore Road                                       Unliquidated
         Fairfield, OH 45014                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $304,638.00
         TrailRunner International                                  Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $200,000.00
         Transpecos                                                 Contingent
         217 W. 3rd Sreet                                           Unliquidated
         Pecos, TX 79772
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $565,604.66
         TTEC Financial Services - 1                                Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,735.80
         TTEC Financial Services - 2                                Contingent
         Address on file                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $120,213.00
         Turnberry Solutions (Three Bridge)                         Contingent
         100 South Fifth Street                                     Unliquidated
         Ste. 300                                                   Disputed
         Minneapolis, MN 55402
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,755.03
         Twilio                                                     Contingent
         101 Spear Street                                           Unliquidated
         Ste. 100                                                   Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11.05
         Upfluence                                                  Contingent
         1178 Broadway                                              Unliquidated
         3rd Floor #1254                                            Disputed
         New York, NY 10001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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             Name

3.75      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $200,000.00
          Walnut Creek Advisors                                             Contingent
          Address on file                                                   Unliquidated
          Date(s) debt was incurred                                         Disputed
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?    No  Yes
3.76      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          Wavy Records                                                      Contingent
          188 Front Street                                                  Unliquidated
          Ste. 116-44                                                       Disputed
          Franklin, TN 37064
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.77      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $15,740.00
          WeRPolitics                                                       Contingent
          Address on file                                                   Unliquidated
          Date(s) debt was incurred                                         Disputed
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?    No  Yes
3.78      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $1,755,588.26
          Winston & Strawn LLP                                              Contingent
          P.O. Box 36235                                                    Unliquidated
          Chicago, IL 60694-6235                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.79      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $469.53
          Zoom                                                              Contingent
          55 Almaden Blvd., 6th Floor                                       Unliquidated
          San Jose, CA 95113                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.    +   $                   10,580,301.74

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                      10,580,301.74




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 12
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                                                          Document     Page 32 of 50
Fill in this information to identify the case:

Debtor name        With Purpose, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF TEXAS

Case number (if known)      23-30246
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Tail for Directors &
             lease is for and the nature of       Officers liability
             the debtor's interest                insurance

                State the term remaining
                                                                                    Federal Insurance Company
             List the contract number of any                                        PO Box 1600
                   government contract                                              Whitehouse Station, NJ 08889


2.2.         State what the contract or           Directors & Officers
             lease is for and the nature of       liability insurance
             the debtor's interest

                State the term remaining
                                                                                    National Union Fire Insurance Company
             List the contract number of any                                        2701 Gateway Oaks Drive, Suite 150N
                   government contract                                              Sacramento, CA 95833




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
         Case 23-30246-mvl7                 Doc 9      Filed 02/09/23 Entered 02/09/23 18:02:52                               Desc Main
                                                      Document     Page 33 of 50
Fill in this information to identify the case:

Debtor name      With Purpose, Inc.

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS

Case number (if known)   23-30246
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    See attached                                                                                                         D
          addendum                                                                                                              E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

IN RE:                                                   §             CHAPTER 7
                                                         §
WITH PURPOSE, INC.,                                      §             CASE NO. 23-30246-mvl7
                                                         §
              Debtor. 1                                  §
                                                         §

          ADDENDUM TO DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES

        In addition to the limitations, disclaimers, and conditions identified in the Global Notes
and Statement of Limitations, Methods, and Disclaimers Regarding the Debtor’s Schedule of
Assets and Liabilities and Statement of Financial Affairs (the “Global Notes”), filed with these
Schedules of Assets and Liabilities (the “Schedules”), the Debtor identifies the following specific
additional disclosures, limitations, disclaimers, and conditions regarding the Debtor’s responses to
certain questions in the Schedules identified below.

Form 206A/B: Assets—Real and Personal Property

Part 1—Does the Debtor Have Cash or Cash Equivalents

Question 3—Checking, Savings, Money Market, or Financial Brokage Accounts

        The cash held in the Debtor’s bank accounts is an estimate based on funds held on or about
the Petition Date. However, the Debtor does not have access to its account at Origin Bank and is
therefore unable to determine what funds, if any, remain in this account as of the Petition Date. If
and when the Debtor obtains this information, it will amend and/or supplement this response.

Part 4—Investments

Question 15—Non-publicly Traded Stocks and Interest in Incorporated and Unincorporated
Businesses, Including any Interest in an LLC, Partnership, or Joint Venture

        Based upon a detailed review of the information available to the Debtor as of the Petition
Date, the Debtor has identified all entities in which it has an ownership interest. The subsidiaries
disclosed are wholly-owned by the Debtor. At present, the Debtor is unaware of any other
ownership interest it may have in any other entity. To the extent the Debtor identifies any other
ownership interest in any entity not identified in this response, the Debtor will amend and/or
supplement its response to this question.



1
    The Debtor’s address is 11700 Preston Road, Suite 660-394, Dallas, TX 75230.

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Part 5—Inventory, Excluding Agriculture Assets

Question 22—Other Inventory or Supplies

        Upon a detailed review of the information available to the Debtor as of the Petition Date,
the Debtor is unaware of other inventory and materials that the Debtor has an interest with the
exception of certain marketing materials identified in this response. Upon information and belief,
the Debtor suspects that assets related to various credit cards may be in existence, but, as of the
Petition Date, the Debtor lacks sufficient information to confirm whether such assets exist and
where they are located. If and when the Debtor obtains this information, it will amend and/or
supplement this response.

Question 26—Has any of the property listed in Part 5 been appraised by a professional in the
last year?

       While the Debtor does not believe any specific property in Part 5 was appraised by a
professional in the last year, the Debtor was in process of going public and had discussions with
multiple advisors as to the value of its assets and enterprise as a whole.

Part 10—Intangibles and Intellectual Property
Questions 59-65—Does the Debtor have any interests in intangibles or intellectual property?

         The Debtor owned a variety of intellectual property, including, without limitation,
software, software assets, trademarks, domain names, copyrights, and other intellectual property.
On or about January 5, 2023, the Debtor's intellectual property was purportedly foreclosed upon
by OnPoint Companies, LLC as the Collateral Agent for the Secured Noteholders. A full and
complete list of the Software and related intellectual property subject to this foreclosure is not
available at this time. However, the Debtor is attaching hereto (i) a list of certain Trademarks and
Copyrights held or previously held by the Debtor and; (ii) a list of Domain Names held or
previously held by the Debtor. If and when the Debtor obtains more detail and information related
to its intellectual property and the intellectual property purportedly subject to the foreclosure, the
Debtor will amend and/or supplement this response.

Question 69-- Has any of the property listed in Part 10 been appraised by a professional in the
last year?

         As of the Petition Date, the Debtor is unaware as to whether a formal appraisal was
conducted specifically as it relates solely to the intellectual property and other intangibles owned
by the Debtor. However, in 2022, the Debtor was in process of going public and had discussions
with multiple advisors as to the value of the Debtor’s assets and its enterprise as a whole, including
its intellectual property. In connection with such discussions and in preparing to go public, the
Debtor was presented with a tentative valuation of $1.7 billion. The Debtor believes that its
intellectual property was a significant and integral part of that valuation. The Debtor’s
investigation as to its intellectual property and its valuation remains ongoing. If and when the
Debtor obtains more information as to the value of its intellectual property and other intangibles,
it will amend and/or supplement this response.

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Part 11—All other assets.
Questions 74—Causes of action against third parties (whether or not a lawsuit has been filed)

Question 75—Other contingent and unliquidated claims or causes of action of every nature,
including counterclaims of the debtor and rights to set off claims

Schedule A/B. Questions 74 and 75. Causes of Action against Third Parties
The Debtor owns a number of significant causes of action and potential causes of action against
third parties. Some of these causes of action are pending, whereas some causes of action have not
yet been filed.

   I.       List of Pending Causes of Action Against Third Parties:
   Case Style: With Purpose, Inc. d/b/a GloriFi and Animo Services LLC, v. Stephen Curry
   Case No.: JAMS No. 531000015
   Causes of Action: Breach of Confidentiality and Proprietary Rights Agreement, Breach of
   antidisparagement clause, tortious interference.
   Demand: Over $15 million

   Case Style: With Purpose, Inc. d/b/a GloriFi v. James Nicholas Ayers
   Case No.: JAMS No. 531000014
   Causes of Action: Breach of Confidentiality and Proprietary Rights Agreement, Breach of
   antidisparagement clause, tortious interference.
   Demand: Over $100 million

   Case Style: With Purpose, Inc. d/b/a GloriFi and Animo Services LLC, v. Manuel Rios
   Case No.: JAMS No. 5310000156
   Causes of Action: Breaches of Employment and Confidentiality Agreements, fraud, breach
   of fiduciary duty, tortious interference with existing and prospective contracts.
   Demand: Over $15 million

   Case Style: With Purpose, Inc. d/b/a GloriFi and Animo Services LLC, v. Jerome Fadden
   Case No.: JAMS No. 5310000155
   Causes of Action: Breaches of Employment and Confidentiality Agreements, fraud, breach
   of fiduciary duty, tortious interference with existing and prospective contracts.
   Demand: Over $15 million

   II.      List of Potential Causes of Action Against Third Parties
        The Debtor possesses a number of significant and valuable causes of action against third
parties. These causes of action include, but are not necessarily limited to, causes of action against
the following persons and entities:

         1. OnPoint Companies, LLC as the Collateral Agent (the “Collateral Agent”) of the
            Secured Noteholders. The Debtor has potential claims against the Collateral Agent
            relating to and/or arising out of the alleged partial foreclosure of the Debtor’s

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           Intellectual Property that purportedly occurred on or about January 5, 2023. Such
           causes of action may include, but are not limited to, claims related to the commercially
           unreasonable foreclosure sale, lack of reasonable and/or proper valuation of the
           Collateral, other claims arising out of the Uniform Commercial Code, breach of
           contract, preferential transfer of property, and fraudulent transfers.
        2. Hunter Bywaters and Bywaters Consulting. The Debtor has potential claims against
           Hunter Bywaters related to his role as a director for the Debtor and in connection with
           his purported consent to the Collateral Agent’s alleged foreclosure of the Debtor’s
           intellectual property that occurred on or about January 5, 2023. Such causes of action
           related to this improper conduct include, but are not necessarily limited to, breaches of
           employment and confidentiality agreements, breach of fiduciary duty, tortious
           interference with existing and prospective contracts, preferential transfer of property,
           fraudulent transfer, and other causes of action arising under state and federal law.
        3. Unqork, Inc. The Debtor has potential claims against Unqork related to professional
           services rendered by Unqork on the Debtor’s behalf. Such claims may include, but are
           not necessarily limited to, breach of contract, right of setoff and/or recoupment, and
           other claims existing under state or federal law.
        4. KPMG. The Debtor has potential claims against KPMG related to professional
           services rendered by KPMG on the Debtor’s behalf. Such claims may include, but are
           not necessarily limited to, breach of contract, right of setoff and/or recoupment, and
           other claims existing under state or federal law.
                                        Reservation of Rights

        Despite its reasonable efforts to identify all known assets, the Debtor may not have listed
all of its causes of action or potential causes of action against third-parties as assets in the
Schedules and Statements, including, without limitation, causes of actions arising under the
provisions of chapter 5 of the Bankruptcy Code and any relevant non-bankruptcy laws to recover
assets or avoid transfers. The Debtor reserves all of its rights with respect to any cause of action
(including avoidance actions), controversy, right of setoff, cross-claim, counter-claim, credits, or
recoupment and any claim on contracts or leases or for breaches of duties imposed by law or in
equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
judgment, account, defense, power, privilege, license, and franchise of any kind or character
whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, whether
arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or pursuant
to any other theory of law (collectively, “Causes of Action”) it may have, and these Schedules
and Statements shall not be deemed a waiver of any Claims or Causes of Action or in any way
prejudice or impair the assertion of such Claims or Causes of Action by the Debtor and its estate.

Question 79-- Has any of the property listed in Part 11 been appraised by a professional in the
last year?

        As of the Petition Date, the Debtor does not believe a formal appraisal has been done as to
any of the property listed in Part 11. However, in 2022, the Debtor was in process of going public

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and had discussions with multiple advisors as to the value of the Debtor’s assets and its enterprise
as a whole. In connection with such discussions and in preparing to go public, the Debtor was
presented with a tentative valuation of $1.7 billion. The Debtor believes that certain individuals
and/or entities caused significant damage to the Debtor as it relates to this process and otherwise
in connection with its business. Prepetition, the Debtor commenced litigation against four former
directors, officers, and/or employees of the Debtor in which the Debtor has asserted claims for,
inter alia, breach of confidentiality and proprietary rights agreement, breach of antidisparagement
clause, tortious interference, fraud, and breach of fiduciary duty. The Debtor believes that the
actions of these individuals caused the Debtor and its business significant and irreparable harm,
entitling the Debtor to monetary damages well in excess of $100 million. In addition, the Debtor
possesses certain potential causes of action against individuals and entities that have not been filed.
The Debtor believes that these causes of action may ultimately provide a significant return for the
estate and its creditors. The Debtor’s investigation as to its current and potential litigation claims
remains ongoing. If and when the Debtor obtains more information relevant to this question, it will
amend and/or supplement this response.

Form 206D: Creditors who have Secured Claims

        On Schedule D, the Debtor has listed a disputed claim asserted by OnPoint Companies,
LLC as the Collateral Agent (the “Collateral Agent”) for the Secured Noteholders. The Collateral
subject to the alleged security interest of the Collateral Agent is specifically described in the
Collateral Agreement. The individual noteholders are listed separately as parties to be notified
related to this debt.

Form 206E/F: Creditors who have Unsecured Claims

Part 1—List all Creditors with Priority Unsecured Claims

        Upon information and belief and the information available to the Debtor as of the Petition
Date, the Debtor does not believe it owes employee wages subject to a priority expense. The Debtor
is working to confirm this and whether any other priority claims may exist. To the extent this list
contains inaccuracies, the Debtor will amend and/or supplement this response.

Part 2—List all Creditors with Nonpriority Unsecured Claims

       Upon information and belief and the information available to the Debtor as of the Petition
Date, the Debtor believes that this is an accurate list of the nonpriority unsecured claims held
against the Debtor. To the extent this list contains inaccuracies, the Debtor will amend and/or
supplement this response.

Form 206G: Executory Contracts and Unexpired Leases

        The Debtor believes it has a voluminous list of contracts with vendors and other parties
spread across the Debtor and its subsidiaries. Many of these contracts were transferred to the
Debtor and/or its subsidiaries from certain affiliated entities. The Debtor is in process of
identifying these contracts and will amend and/or supplement Schedule G if and when it assembles

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such information. Any such amendment or supplement will be provided as soon as possible to the
Bankruptcy Court, the Trustee, creditors, and other parties in interest.

Form 206H: Your Codebtors

       Upon information and belief and the information available to the Debtor as of the Petition
Date, the Debtor’s records indicate that there are, or may be, voluminous amounts of possible
codebtors. The Debtor will amend and/or supplement Schedule H if and when it assembles such
information. Any such amendment or supplement will be provided as soon as possible to the
Bankruptcy Court, the Trustee, creditors, and other parties in interest.

                                     Reservation of Rights

        Although the Debtor’s management team has made every reasonable effort to ensure that
the Schedules and Statements are as accurate and complete as possible under the circumstances
based on information that was available to them at the time of preparation, subsequent information
or discovery may result in material changes to the Schedules and Statements, and inadvertent errors
or omissions may have occurred, some of which may be material. Because the Schedules and
Statements contain unaudited information, which remains subject to further review, verification
and potential adjustment, there can be no assurance that the Schedules and Statements are complete
and accurate. The Debtor reserves all rights to amend the Schedules and Statements from time to
time, in any and all respects, as may be necessary or appropriate.




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                                                                                        Trademark and Copyright
Trademark                            Country         Status     International Classes                         Goods/Services                                    Application Number   Filed Date     Status as per USPTO Website
                                                                                                                                                                                                          on June 28, 2022
1776 GLORIFI (Stylized)              United States   Application 9                      9 - Magnetically encoded credit cards                                   97/398,947           2022-05-06   New application will be assigned
                                     of America                                                                                                                                                   to an examining attorney
                                                                                                                                                                                                  approximately 6 months after filing
                                                                                                                                                                                                  date.
ALLEGIANCE                           United States   Application 35                     35 - Customer loyalty services and customer club services, for          97/447,402           2022-06-07   New application will be assigned
                                     of America                                         commercial, promotional and/or advertising purposes                                                       to an examining attorney
                                                                                                                                                                                                  approximately 6 months after filing
                                                                                                                                                                                                  date.
DRIVE WITH PURPOSE                   United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides        90/882,180           2021-08-13   Office Action issued. Response
                                     of America                                         reward points that can be used for financial products                                                     Due November 14, 2022.
                                                                                        36 - Administration of a customer loyalty program which provides
                                                                                        reward points that can be used for financial products
                                                                                        42 - Software as a service (SAAS) services featuring software for use
                                                                                        in online banking, mortgage, financial and insurance-related services

FINANCIAL COCKPIT                    United States   Application 9,42                   9 - Downloadable computer software application for use as a digital      97/444,293          2022-06-06   New application will be assigned
                                     of America                                         wallet                                                                                                    to an examining attorney
                                                                                        42 - Providing temporary use of on-line non-downloadable computer                                         approximately 6 months after filing
                                                                                        software for use as a digital wallet                                                                      date.
GloriFi                              United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides         90/882,184          2021-08-13   Office Action issued. Response
                                     of America                                         reward points that can be used for financial products                                                     Due November 16, 2022.
                                                                                        36 - Online banking; mortgage banking; banking and financial services;
                                                                                        Online banking services accessible by means of downloadable mobile
                                                                                        applications; insurance administration; Insurance brokerage in the field
                                                                                        of home insurance
                                                                                        42 - Software as a service (SAAS) services featuring software for use
                                                                                        in online banking, mortgage, financial and insurance-related services

GloriFi                              United States   Application 35,42                  35 - Advertising services                                               97/459,307           2022-06-15   New application will be assigned
                                     of America                                         42 - Business technology software consultation services; Information                                      to an examining attorney
                                                                                        technology consulting services; Technology advisory services related to                                   approximately 6 months after filing
                                                                                        financial services, mortgage services, and insurance services                                             date.

GLORIFI (Stylized Gold/Yellow)       United States   Application 9                      9 - Magnetically encoded credit cards                                   97/398,941           2022-05-06   New application will be assigned
                                     of America                                                                                                                                                   to an examining attorney
                                                                                                                                                                                                  approximately 6 months after filing
                                                                                                                                                                                                  date.
GLORIFI (Stylized)                   United States   Application 9                      9 - Magnetically encoded credit cards                                   97/398,940           2022-05-06   New application will be assigned
                                     of America                                                                                                                                                   to an examining attorney
                                                                                                                                                                                                  approximately 6 months after filing
                                                                                                                                                                                                  date.
GloriFi Financial Lifestyle          United States   Application 9,42                   9 - Downloadable computer software application for use as a digital      97/444,297          2022-06-06   New application will be assigned
                                     of America                                         wallet                                                                                                    to an examining attorney
                                                                                        42 - Providing temporary use of on-line non-downloadable computer                                         approximately 6 months after filing
                                                                                        software for use as a digital wallet                                                                      date.
GLORIFI Logo                         United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides points 97/237,958           2022-01-25   New application will be assigned
                                     of America                                         that can be used for financial products.                                                                  to an examining attorney
                                                                                        36 - Online banking; mortgage banking; banking and financial services;                                    approximately 6 months after filing
                                                                                        Online banking services accessible by means of downloadable mobile                                        date.
                                                                                        applications; insurance administration; Insurance brokerage in the field
                                                                                        of home insurance.
                                                                                        42 - Software as a service (SAAS) services featuring software for use
                                                                                        in online banking and financial services.
HOME WITH PURPOSE                    United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides points 97/001,313           2021-08-30   Office Action issued. Response
                                     of America                                         that can be used for financial products                                                                   Due November 17, 2022.
                                                                                        36 - Online banking; mortgage banking; banking and financial services;
                                                                                        Online banking services accessible by means of downloadable mobile
                                                                                        applications; insurance administration; Insurance brokerage in the field
                                                                                        of home insurance
                                                                                        42 - Software as a service (SAAS) services featuring software for use
                                                                                        in online banking and financial services




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Trademark                     Country         Status     International Classes                              Goods/Services                              Application Number   Filed Date    Status as per USPTO Website
                                                                                                                                                                                                  on June 28, 2022
INSURE WITH PURPOSE           United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides         90/882,179         2021-08-13   Office Action issued. Response
                              of America                                         reward points that can be used for financial products                                                    Due November 16, 2022.
                                                                                 36 - Online banking; mortgage banking; banking and financial services;
                                                                                 Online banking services accessible by means of downloadable mobile
                                                                                 applications; insurance administration; Insurance brokerage in the field
                                                                                 of home insurance
                                                                                 42 - Software as a service (SAAS) services featuring software for use
                                                                                 in online banking, mortgage, financial and insurance-related services

IVY                           United States   Application 9                      9 - Recorded and downloadable computer programs and computer            97/444,132          2022-06-06   New application will be assigned
                              of America                                         software for chat bot, communication channels featuring on line chat                                     to an examining attorney
                                                                                 conversation via text or text to speech; Recorded and downloadable                                       approximately 6 months after filing
                                                                                 application software for mobile phones and computer platforms for chat                                   date.
                                                                                 bot, communication channels featuring on line chat conversation via
                                                                                 text or text to speech; Personal digital assistants (PDA); downloadable
                                                                                 voice command and recognition software

IVY                           United States   Application 42                     42 - Software as a service (SaaS) featuring computer software used for 97/444,144           2002-06-06   New application will be assigned
                              of America                                         controlling stand-alone voice controlled information and personal                                        to an examining attorney
                                                                                 assistant devices; Software as a service (SaaS) featuring computer                                       approximately 6 months after filing
                                                                                 software for use in facilitating interactive voice response in connection                                date.
                                                                                 with consumer transactions; Software as a service (SaaS) services
                                                                                 featuring software for automating customer interactions and data
                                                                                 collection; Software as a service (SAAS) services featuring software for
                                                                                 interacting, connecting, and conversing between users in fields of
                                                                                 digital engagement, conversational commerce, messaging, artificial
                                                                                 intelligence, bots and automation, and customer engagement.

PAY WITH PURPOSE              United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides         90/882,177         2021-08-13   Office Action issued. Response
                              of America                                         reward points that can be used for financial products                                                    Due November 16, 2022.
                                                                                 36 - Online banking; mortgage banking; banking and financial services;
                                                                                 Online banking services accessible by means of downloadable mobile
                                                                                 applications; insurance administration; Insurance brokerage in the field
                                                                                 of home insurance
                                                                                 42 - Software as a service (SAAS) services featuring software for use
                                                                                 in online banking, mortgage, financial and insurance-related services

PROTECT WITH PURPOSE          United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides        90/882,175          2021-08-13   Office Action issued. Response
                              of America                                         reward points that can be used for financial products                                                    Due November 16, 2022.
                                                                                 36 - Insurance; Online banking; mortgage banking; banking and
                                                                                 financial services; Online banking services accessible by means of
                                                                                 downloadable mobile applications; insurance administration; Insurance
                                                                                 brokerage in the field of home insuranceaffairs; monetary affairs; real
                                                                                 estate affairs.
                                                                                 42 - Software as a service (SAAS) services featuring software for use
                                                                                 in online banking, mortgage, financial and insurance-related services

PURPOSEFI                     United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides points 97/001,493          2021-08-30   Office Action issued. Response
                              of America                                         that can be used for financial products                                                                  Due November 16, 2022.
                                                                                 36 - Online banking; mortgage banking; banking and financial services;
                                                                                 Online banking services accessible by means of downloadable mobile
                                                                                 applications; insurance administration; Insurance brokerage in the field
                                                                                 of home insurance
                                                                                 42 - Software as a service (SAAS) services featuring software for use
                                                                                 in online banking and financial services
SAVE WITH PURPOSE             United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides         90/882,170         2021-08-13   Office Action issued. Response
                              of America                                         reward points that can be used for financial products                                                    Due November 16, 2022.
                                                                                 36 - Online banking; mortgage banking; banking and financial services;
                                                                                 Online banking services accessible by means of downloadable mobile
                                                                                 applications; insurance administration; Insurance brokerage in the field
                                                                                 of home insurance
                                                                                 42 - Software as a service (SAAS) services featuring software for use
                                                                                 in online banking, mortgage, financial and insurance-related services




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Trademark                          Country         Status     International Classes                              Goods/Services                              Application Number   Filed Date    Status as per USPTO Website
                                                                                                                                                                                                       on June 28, 2022
WE THE PEOPLE                      United States   Application 35,36,42               35 - Administration of a customer loyalty program which provides         90/882,168         2021-08-13   Office Action issued. Response
                                   of America                                         reward points that can be used for financial products                                                    Due November 19, 2022.
                                                                                      36 - Online banking; mortgage banking; banking and financial services;
                                                                                      Online banking services accessible by means of downloadable mobile
                                                                                      applications; insurance administration; Insurance brokerage in the field
                                                                                      of home insurance
                                                                                      42 - Software as a service (SAAS) services featuring software for use
                                                                                      in online banking, mortgage, financial and insurance-related services

WE THE PEOPLE                      United States   Application 9,36                   9 - Magnetically encoded credit cards                                  97/398,944           2022-05-06   New application will be assigned
                                   of America                                         36 - Charge card and credit card payment processing services; Issuing                                    to an examining attorney
                                                                                      credit cards; Processing of credit card payments; Providing electronic                                   approximately 6 months after filing
                                                                                      processing of credit card transactions and electronic payments via a                                     date.
                                                                                      global computer network
WE THE PEOPLE GLORIFI (Stylized)   United States   Application 9                      9 - Magnetically encoded credit cards                                  97/398,935           2022-05-06   New application will be assigned
                                   of America                                                                                                                                                  to an examining attorney
                                                                                                                                                                                               approximately 6 months after filing
                                                                                                                                                                                               date.




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                                      Exhibit B ‐ Domain Names
    Domain Name                   Status     Expiration Date Auto‐renew Estimated Value Lock
    alabamaglorifi.com            Active           3/30/2027 Off               $201.00 Locked
    alaskaglorifi.com             Active           3/30/2027 Off               $224.00 Locked
    allamericanphotocontest.com   Active            2/9/2023 Off               $554.00 Locked
    animobancorp.com              Active            9/8/2028 Off               $760.00 Locked
    animobank.org                 Active          10/25/2023 Off               $904.00 Locked
    animobanks.com                Active          10/25/2023 Off              $1,298.00 Locked
    animobanks.net                Active          10/25/2023 Off               $114.00 Locked
    animobanks.org                Active          10/25/2023 Off               $517.00 Locked
    animoinsurance.com            Active          10/15/2023 Off              $1,274.00 Locked
    animoinsurance.net            Active          10/25/2023 Off               $149.00 Locked
    animoinsurance.org            Active          10/25/2023 Off               $609.00 Locked
    animoinsurancescam.com        Active          10/25/2023 Off               $421.00 Locked
    animoinsurancescam.net        Active          10/25/2023 Off                 $41.00 Locked
    animoinsurancescam.org        Active          10/25/2023 Off               $234.00 Locked
    animoinsurancesuck.com        Active          10/25/2023 Off               $277.00 Locked
    animoinsurancesuck.net        Active          10/25/2023 Off                 $24.00 Locked
    animoinsurancesuck.org        Active          10/25/2023 Off               $151.00 Locked
    animoinsurancesucks.com       Active          10/25/2023 Off               $237.00 Locked
    animoinsurancesucks.net       Active          10/25/2023 Off                 $23.00 Locked
    animoinsurancesucks.org       Active          10/25/2023 Off               $154.00 Locked
    animomortgage.com             Active          10/15/2023 Off              $1,324.00 Locked
    animomortgage.net             Active          10/25/2023 Off               $103.00 Locked
    animomortgage.org             Active          10/25/2023 Off               $432.00 Locked
    animomortgagecompany.com      Active           4/12/2027 Off               $591.00 Locked
    animomortgagecompany.net      Active           4/12/2027 Off                 $61.00 Locked
    animomortgagecompany.org      Active           4/12/2027 Off               $236.00 Locked
    animomortgagescam.com         Active          10/25/2023 Off               $206.00 Locked
    animomortgagescam.net         Active          10/25/2023 Off                 $11.00 Locked
    animomortgagescam.org         Active          10/25/2023 Off               $129.00 Locked
    animomortgagesuck.com         Active          10/25/2023 Off               $300.00 Locked
    animomortgagesuck.net         Active          10/25/2023 Off                 $20.00 Locked
    animomortgagesuck.org         Active          10/25/2023 Off               $108.00 Locked
    animomortgagesucks.com        Active          10/25/2023 Off               $211.00 Locked
    animomortgagesucks.net        Active          10/25/2023 Off                 $13.00 Locked
    animomortgagesucks.org        Active          10/25/2023 Off                 $87.00 Locked
    animoservicesllc.com          Active           1/19/2027 Off               $394.00 Locked
    animoservicesllc.net          Active           1/19/2027 Off                 $33.00 Locked
    animoservicesllc.org          Active           1/19/2027 Off               $185.00 Locked
    arizonaglorifi.com            Active           3/30/2027 Off               $222.00 Locked
    arkansasglorifi.com           Active           3/30/2027 Off               $180.00 Locked
    californiaglorifi.com         Active           3/30/2027 Off               $219.00 Locked
    coloradoglorifi.com           Active           3/30/2027 Off               $214.00 Locked
    connecticutglorifi.com        Active           3/30/2027 Off               $124.00 Locked
    delawareglorifi.com           Active           3/30/2027 Off               $192.00 Locked
    dev‐glorifi.com               Active           11/4/2023 Off                  $0.00 Locked
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    dev‐glorifi.io                     Active    11/4/2023 Off              $0.00 Locked
    dev‐glorifi.net                    Active    11/4/2023 Off              $0.00 Locked
    dev‐glorifi.org                    Active    11/4/2023 Off              $0.00 Locked
    dev‐glorifi.us                     Active    11/4/2023 Off              $0.00 Locked
    floridaglorifi.com                 Active    3/30/2027 Off           $267.00 Locked
    fuckanimoinsurance.com             Active   10/25/2023 Off           $562.00 Locked
    fuckanimoinsurance.net             Active   10/25/2023 Off             $37.00 Locked
    fuckanimoinsurance.org             Active   10/25/2023 Off           $159.00 Locked
    fuckanimomortgage.com              Active   10/25/2023 Off           $417.00 Locked
    fuckanimomortgage.net              Active   10/25/2023 Off             $24.00 Locked
    fuckanimomortgage.org              Active   10/25/2023 Off             $84.00 Locked
    fuckglorifi.com                    Active    9/20/2023 Off           $206.00 Locked
    fuckglorifi.net                    Active    9/20/2023 Off              $4.00 Locked
    fuckglorifi.org                    Active    9/20/2023 Off             $29.00 Locked
    fuckglorifibankingservices.com     Active   10/25/2023 Off              $0.00 Locked
    fuckglorifibankingservices.net     Active   10/25/2023 Off              $0.00 Locked
    fuckglorifibankingservices.org     Active   10/25/2023 Off              $0.00 Locked
    fuckglorififinancialservices.com   Active   10/25/2023 Off              $5.00 Locked
    fuckglorififinancialservices.net   Active   10/25/2023 Off              $0.00 Locked
    fuckglorififinancialservices.org   Active   10/25/2023 Off              $0.00 Locked
    fuckglorifiinsurance.com           Active   10/25/2023 Off             $37.00 Locked
    fuckglorifiinsurance.net           Active   10/25/2023 Off              $0.00 Locked
    fuckglorifiinsurance.org           Active   10/25/2023 Off              $1.00 Locked
    fuckglorifimortgage.com            Active   10/25/2023 Off             $34.00 Locked
    fuckglorifimortgage.net            Active   10/25/2023 Off              $0.00 Locked
    fuckglorifimortgage.org            Active   10/25/2023 Off              $1.00 Locked
    fuckglorifiriskmanagement.com      Active   10/25/2023 Off              $0.00 Locked
    fuckglorifiriskmanagement.net      Active   10/25/2023 Off              $0.00 Locked
    fuckglorifiriskmanagement.org      Active   10/25/2023 Off              $0.00 Locked
    georgiaglorifi.com                 Active    3/30/2027 Off           $211.00 Locked
    glarifi.com                        Active    6/15/2027 Off          $1,058.00 Locked
    glorifi‐technologies.com           Active     3/7/2027 Off             $54.00 Locked
    glorifi‐technologies.io            Active     3/7/2027 Off              $0.00 Locked
    glorifi‐technologies.net           Active     3/7/2027 Off              $1.00 Locked
    glorifi‐technologies.org           Active     3/7/2027 Off             $15.00 Locked
    glorifi‐technology.com             Active     3/3/2027 Off             $56.00 Locked
    glorifi‐technology.io              Active     3/3/2027 Off              $0.00 Locked
    glorifi.art                        Active    6/15/2027 Off             $65.00 Locked
    glorifi.biz                        Active    6/15/2027 Off             $15.00 Locked
    glorifi.cc                         Active    6/15/2027 Off             $67.00 Locked
    glorifi.com                        Active   12/25/2024 Off          $1,987.00 Locked
    glorifi.fun                        Active    6/16/2027 Off             $65.00 Locked
    glorifi.io                         Active    1/26/2027 Off           $123.00 Locked
    glorifi.life                       Active    6/15/2027 Off             $65.00 Locked
    glorifi.love                       Active    6/15/2027 Off             $65.00 Locked
    glorifi.pro                        Active    6/15/2027 Off             $45.00 Locked
    glorifi.shop                       Active    6/15/2027 Off             $65.00 Locked
    glorifi.tech                       Active     3/3/2027 Off             $37.00 Locked
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    glorifi.today                       Active    6/15/2027 Off            $65.00 Locked
    glorifi.us                          Active     3/3/2027 Off             $4.00 Locked
    glorifi.website                     Active    6/16/2027 Off            $65.00 Locked
    glorifi.work                        Active    6/15/2027 Off            $65.00 Locked
    glorifi.xyz                         Active    6/15/2027 Off            $19.00 Locked
    glorifialabama.com                  Active    3/30/2027 Off           $214.00 Locked
    glorifialaska.com                   Active    3/30/2027 Off           $215.00 Locked
    glorifiapp.co                       Active    6/16/2027 Off             $0.00 Locked
    glorifiapp.info                     Active    6/15/2027 Off             $0.00 Locked
    glorifiapp.net                      Active    6/15/2027 Off             $0.00 Locked
    glorifiapp.org                      Active    6/15/2027 Off             $0.00 Locked
    glorifiapps.com                     Active    6/15/2027 Off             $0.00 Locked
    glorifiarizona.com                  Active    3/30/2027 Off           $206.00 Locked
    glorifiarkansas.com                 Active    3/30/2027 Off           $203.00 Locked
    glorifiassetmanagement.com          Active     3/1/2027 Off           $149.00 Locked
    glorifibank.com                     Active    9/20/2023 Off             $0.00 Locked
    glorifibank.net                     Active    9/20/2023 Off             $0.00 Locked
    glorifibank.org                     Active    9/20/2023 Off             $0.00 Locked
    glorifibankingservices.com          Active    9/20/2023 Off           $141.00 Locked
    glorifibankingservices.net          Active    9/20/2023 Off             $1.00 Locked
    glorifibankingservices.org          Active    9/20/2023 Off            $15.00 Locked
    glorifibankingservicesscam.com      Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicesscam.net      Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicesscam.org      Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicessuck.com      Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicessuck.net      Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicessuck.org      Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicessucks.com     Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicessucks.net     Active   10/25/2023 Off             $0.00 Locked
    glorifibankingservicessucks.org     Active   10/25/2023 Off             $0.00 Locked
    glorificalifornia.com               Active    3/30/2027 Off           $187.00 Locked
    glorificolorado.com                 Active    3/30/2027 Off           $206.00 Locked
    glorificonnecticut.com              Active    3/30/2027 Off           $181.00 Locked
    glorifidelaware.com                 Active    3/30/2027 Off           $209.00 Locked
    glorififinancial.com                Active    9/20/2023 Off           $196.00 Locked
    glorififinancial.net                Active    9/20/2023 Off             $7.00 Locked
    glorififinancial.org                Active    9/20/2023 Off            $51.00 Locked
    glorififinancialservices.com        Active    9/20/2023 Off           $128.00 Locked
    glorififinancialservicesscam.com    Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicesscam.net    Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicesscam.org    Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicessuck.com    Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicessuck.net    Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicessuck.org    Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicessucks.com   Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicessucks.net   Active   10/25/2023 Off             $0.00 Locked
    glorififinancialservicessucks.org   Active   10/25/2023 Off             $0.00 Locked
    glorififlorida.com                  Active    3/30/2027 Off           $211.00 Locked
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    glorifigeorgia.com               Active       3/30/2027 Off           $204.00 Locked
    glorifigiving.co                 Active        5/5/2023 Off              $0.00 Locked
    glorifigiving.com                Active        5/5/2025 Off           $210.00 Locked
    glorifigiving.net                Active        5/5/2023 Off              $7.00 Locked
    glorifigiving.org                Active        5/5/2023 Off             $50.00 Locked
    glorifihawaii.com                Active       3/30/2027 Off           $281.00 Locked
    glorifihome.com                  Active        3/1/2027 Off           $273.00 Locked
    glorifii.com                     Active       6/15/2027 Off          $1,100.00 Locked
    glorifiidaho.com                 Active       3/30/2027 Off           $236.00 Locked
    glorifiillinois.com              Active       3/30/2027 Off           $201.00 Locked
    glorifiindiana.com               Active       3/30/2027 Off           $211.00 Locked
    glorifiinsurance.com             Active       9/20/2023 Off           $210.00 Locked
    glorifiinsurance.net             Active       9/20/2023 Off              $9.00 Locked
    glorifiinsurance.org             Active       9/20/2023 Off             $50.00 Locked
    glorifiinsurancescam.com         Active      10/25/2023 Off           $174.00 Locked
    glorifiinsurancescam.net         Active      10/25/2023 Off              $9.00 Locked
    glorifiinsurancescam.org         Active      10/25/2023 Off             $65.00 Locked
    glorifiinsurancesuck.com         Active      10/25/2023 Off              $0.00 Locked
    glorifiinsurancesuck.net         Active      10/25/2023 Off              $0.00 Locked
    glorifiinsurancesuck.org         Active      10/25/2023 Off              $0.00 Locked
    glorifiinsurancesucks.com        Active      10/25/2023 Off              $0.00 Locked
    glorifiinsurancesucks.net        Active      10/25/2023 Off              $0.00 Locked
    glorifiinsurancesucks.org        Active      10/25/2023 Off              $0.00 Locked
    glorifiiowa.com                  Active       3/30/2027 Off              $0.00 Locked
    glorifikansas.com                Active       3/30/2027 Off           $214.00 Locked
    glorifikentucky.com              Active       3/30/2027 Off           $212.00 Locked
    glorifilouisiana.com             Active       3/30/2027 Off           $189.00 Locked
    glorifimaine.com                 Active       3/30/2027 Off           $232.00 Locked
    glorifimaryland.com              Active       3/30/2027 Off           $212.00 Locked
    glorifimassachusetts.com         Active       3/30/2027 Off           $178.00 Locked
    glorifimichigan.com              Active       3/30/2027 Off           $206.00 Locked
    glorifiminnesota.com             Active       3/30/2027 Off           $200.00 Locked
    glorifimississippi.com           Active       3/30/2027 Off           $167.00 Locked
    glorifimissouri.com              Active       3/30/2027 Off           $198.00 Locked
    glorifimontana.com               Active       3/30/2027 Off           $213.00 Locked
    glorifimortgage.com              Active       9/20/2023 Off           $206.00 Locked
    glorifimortgage.net              Active       9/20/2023 Off              $8.00 Locked
    glorifimortgage.org              Active       9/20/2023 Off             $49.00 Locked
    glorifimortgagescam.com          Active      10/25/2023 Off              $0.00 Locked
    glorifimortgagescam.net          Active      10/25/2023 Off              $0.00 Locked
    glorifimortgagescam.org          Active      10/25/2023 Off              $0.00 Locked
    glorifimortgageservices.com      Active       9/20/2023 Off           $125.00 Locked
    glorifimortgageservices.net      Active       9/20/2023 Off              $1.00 Locked
    glorifimortgageservices.org      Active       9/20/2023 Off             $12.00 Locked
    glorifimortgagesuck.com          Active      10/25/2023 Off              $0.00 Locked
    glorifimortgagesuck.net          Active      10/25/2023 Off              $0.00 Locked
    glorifimortgagesuck.org          Active      10/25/2023 Off              $0.00 Locked
    glorifimortgagesucks.com         Active      10/25/2023 Off              $0.00 Locked
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    glorifimortgagesucks.net         Active   10/25/2023 Off             $0.00 Locked
    glorifimortgagesucks.org         Active   10/25/2023 Off             $0.00 Locked
    glorifinancial.net               Active    4/20/2027 Off            $39.00 Locked
    glorifinancial.org               Active    4/20/2027 Off            $88.00 Locked
    glorifinebraska.com              Active    3/30/2027 Off           $208.00 Locked
    glorifinevada.com                Active    3/30/2027 Off           $273.00 Locked
    glorifinewhampshire.com          Active    3/30/2027 Off           $264.00 Locked
    glorifinewjersey.com             Active    3/30/2027 Off           $313.00 Locked
    glorifinewmexico.com             Active    3/30/2027 Off           $295.00 Locked
    glorifinewyork.com               Active    3/30/2027 Off           $359.00 Locked
    glorifinorthcarolina.com         Active    3/30/2027 Off           $142.00 Locked
    glorifinorthdakota.com           Active    3/30/2027 Off           $157.00 Locked
    glorifinow.com                   Active    6/15/2027 Off           $361.00 Locked
    glorifiohio.com                  Active    3/30/2027 Off           $233.00 Locked
    glorifioklahoma.com              Active    3/30/2027 Off           $211.00 Locked
    glorifioregon.com                Active    3/30/2027 Off           $212.00 Locked
    glorifipennsylvania.com          Active    3/30/2027 Off           $181.00 Locked
    glorifirentals.com               Active     3/1/2027 Off           $224.00 Locked
    glorifirhodeisland.com           Active    3/30/2027 Off           $160.00 Locked
    glorifiriskmanagementscam.com    Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementscam.net    Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementscam.org    Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementsuck.com    Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementsuck.net    Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementsuck.org    Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementsucks.com   Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementsucks.net   Active   10/25/2023 Off             $0.00 Locked
    glorifiriskmanagementsucks.org   Active   10/25/2023 Off             $0.00 Locked
    glorifiscam.com                  Active    9/20/2023 Off             $0.00 Locked
    glorifiscam.net                  Active    9/20/2023 Off             $0.00 Locked
    glorifiscam.org                  Active    9/20/2023 Off             $0.00 Locked
    glorifisecurities.com            Active    2/16/2027 Off           $179.00 Locked
    glorifisecurities.io             Active    2/16/2027 Off             $2.00 Locked
    glorifisecurities.net            Active    2/16/2027 Off             $5.00 Locked
    glorifisecurities.org            Active    2/16/2027 Off            $41.00 Locked
    glorifiservices.com              Active     8/5/2027 Off           $222.00 Locked
    glorifiservices.io               Active     8/5/2027 Off             $3.00 Locked
    glorifiservices.net              Active     8/5/2027 Off            $11.00 Locked
    glorifiservices.org              Active     8/5/2027 Off            $55.00 Locked
    glorifisouthcarolina.com         Active    3/30/2027 Off           $145.00 Locked
    glorifisouthdakota.com           Active    3/30/2027 Off           $158.00 Locked
    glorifisuck.com                  Active    9/20/2023 Off             $0.00 Locked
    glorifisuck.net                  Active    9/20/2023 Off             $0.00 Locked
    glorifisuck.org                  Active    9/20/2023 Off             $0.00 Locked
    glorifisucks.com                 Active    9/20/2023 Off             $0.00 Locked
    glorifisucks.net                 Active    9/20/2023 Off             $0.00 Locked
    glorifisucks.org                 Active    9/20/2023 Off             $0.00 Locked
    glorifitennessee.com             Active    3/30/2027 Off           $194.00 Locked
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    glorifitexas.com              Active      3/30/2027 Off           $244.00 Locked
    glorifiutah.com               Active      3/30/2027 Off              $0.00 Locked
    glorifivermont.com            Active      3/30/2027 Off           $217.00 Locked
    glorifivirginia.com           Active      3/30/2027 Off           $202.00 Locked
    glorifiwashington.com         Active      3/30/2027 Off           $199.00 Locked
    glorifiwealth.com             Active       3/1/2027 Off           $219.00 Locked
    glorifiweb.com                Active      6/15/2027 Off           $309.00 Locked
    glorifiwestvirginia.com       Active      3/30/2027 Off           $143.00 Locked
    glorifiwisconsin.com          Active      3/30/2027 Off           $189.00 Locked
    glorifiwyoming.com            Active      3/30/2027 Off           $209.00 Locked
    glorifund.com                 Active       3/1/2027 Off           $999.00 Locked
    greatamericancontest.com      Active      2/16/2023 Off          $1,089.00 Locked
    greatamericanpics.com         Active      2/16/2023 Off           $987.00 Locked
    greatamericanvideos.com       Active      2/16/2023 Off          $1,064.00 Locked
    hawaiiglorifi.com             Active      3/30/2027 Off           $245.00 Locked
    idahoglorifi.com              Active      3/30/2027 Off           $225.00 Locked
    illinoisglorifi.com           Active      3/30/2027 Off           $189.00 Locked
    indepedencebank.com           Active       2/3/2027 Off           $813.00 Locked
    indepedencebank.net           Active       2/3/2027 Off             $55.00 Locked
    indepedencebank.org           Active       2/4/2027 Off           $305.00 Locked
    independencebankoftexas.com   Active       2/3/2027 Off           $779.00 Locked
    independencebankoftexas.net   Active       2/3/2027 Off              $8.00 Locked
    independencebankoftexas.org   Active       2/4/2027 Off           $236.00 Locked
    indianaglorifi.com            Active      3/30/2027 Off           $197.00 Locked
    iowaglorifi.com               Active      3/30/2027 Off           $190.00 Locked
    joinglorifi.com               Active      3/22/2027 Off           $318.00 Locked
    joinglorifi.io                Active      3/22/2027 Off              $4.00 Locked
    joinglorifi.net               Active      3/22/2027 Off              $8.00 Locked
    joinglorifi.org               Active      3/22/2027 Off             $76.00 Locked
    kansasglorifi.com             Active      3/30/2027 Off           $176.00 Locked
    kentuckyglorifi.com           Active      3/30/2027 Off           $190.00 Locked
    louisianaglorifi.com          Active      3/30/2027 Off           $166.00 Locked
    maineglorifi.com              Active      3/30/2027 Off           $291.00 Locked
    marylandglorifi.com           Active      3/30/2027 Off           $138.00 Locked
    massachusettsglorifi.com      Active      3/30/2027 Off           $111.00 Locked
    michiganglorifi.com           Active      3/30/2027 Off           $196.00 Locked
    minnesotaglorifi.com          Active      3/30/2027 Off           $153.00 Locked
    mississippiglorifi.com        Active      3/30/2027 Off           $105.00 Locked
    missouriglorifi.com           Active      3/30/2027 Off           $166.00 Locked
    montanaglorifi.com            Active      3/30/2027 Off           $214.00 Locked
    nebraskaglorifi.com           Active      3/30/2027 Off           $174.00 Locked
    nevadaglorifi.com             Active      3/30/2027 Off           $151.00 Locked
    newhampshireglorifi.com       Active      3/30/2027 Off             $42.00 Locked
    newjerseyglorifi.com          Active      3/30/2027 Off             $66.00 Locked
    newmexicoglorifi.com          Active      3/30/2027 Off             $60.00 Locked
    newyorkglorifi.com            Active      3/30/2027 Off             $10.00 Locked
    northcarolinaglorifi.com      Active      3/30/2027 Off             $33.00 Locked
    northdakotaglorifi.com        Active      3/30/2027 Off             $28.00 Locked
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    ohioglorifi.com                    Active    3/30/2027 Off           $219.00 Locked
    oklahomaglorifi.com                Active    3/30/2027 Off           $191.00 Locked
    oregonglorifi.com                  Active    3/30/2027 Off           $269.00 Locked
    pat‐glorifi.com                    Active     2/9/2027 Off              $0.00 Locked
    pat‐glorifi.io                     Active    2/15/2027 Off              $0.00 Locked
    pennsylvaniaglorifi.com            Active    3/30/2027 Off           $124.00 Locked
    rhodeislandglorifi.com             Active    3/30/2027 Off             $38.00 Locked
    sbx‐glorifi.com                    Active    11/4/2023 Off              $0.00 Locked
    sbx‐glorifi.io                     Active    11/4/2023 Off              $0.00 Locked
    sbx‐glorifi.net                    Active    11/4/2023 Off              $0.00 Locked
    sbx‐glorifi.org                    Active    11/4/2023 Off              $0.00 Locked
    sbx‐glorifi.us                     Active    11/4/2023 Off              $0.00 Locked
    scamanimoinsurance.com             Active   10/25/2023 Off           $406.00 Locked
    scamanimoinsurance.net             Active   10/25/2023 Off             $43.00 Locked
    scamanimoinsurance.org             Active   10/25/2023 Off           $262.00 Locked
    scamanimomortgage.com              Active   10/25/2023 Off           $357.00 Locked
    scamanimomortgage.net              Active   10/25/2023 Off             $30.00 Locked
    scamanimomortgage.org              Active   10/25/2023 Off           $179.00 Locked
    scamglorifi.com                    Active    9/20/2023 Off              $0.00 Locked
    scamglorifi.net                    Active    9/20/2023 Off              $0.00 Locked
    scamglorifi.org                    Active    9/20/2023 Off              $0.00 Locked
    scamglorifibankingservices.com     Active   10/25/2023 Off              $0.00 Locked
    scamglorifibankingservices.net     Active   10/25/2023 Off              $0.00 Locked
    scamglorifibankingservices.org     Active   10/25/2023 Off              $0.00 Locked
    scamglorififinancialservices.com   Active   10/25/2023 Off              $0.00 Locked
    scamglorififinancialservices.net   Active   10/25/2023 Off              $0.00 Locked
    scamglorififinancialservices.org   Active   10/25/2023 Off              $0.00 Locked
    scamglorifiinsurance.com           Active   10/25/2023 Off           $116.00 Locked
    scamglorifiinsurance.net           Active   10/25/2023 Off              $1.00 Locked
    scamglorifiinsurance.org           Active   10/25/2023 Off             $13.00 Locked
    scamglorifimortgage.com            Active   10/25/2023 Off           $116.00 Locked
    scamglorifimortgage.net            Active   10/25/2023 Off              $1.00 Locked
    scamglorifimortgage.org            Active   10/25/2023 Off             $12.00 Locked
    scamglorifiriskmanagement.com      Active   10/25/2023 Off              $0.00 Locked
    scamglorifiriskmanagement.net      Active   10/25/2023 Off              $0.00 Locked
    scamglorifiriskmanagement.org      Active   10/25/2023 Off              $0.00 Locked
    southcarolinaglorifi.com           Active    3/30/2027 Off             $35.00 Locked
    southdakotaglorifi.com             Active    3/30/2027 Off             $29.00 Locked
    stateofindependencebank.com        Active     2/3/2027 Off          $1,125.00 Locked
    stateofindependencebank.net        Active     2/3/2027 Off             $47.00 Locked
    stateofindependencebank.org        Active     2/4/2027 Off           $503.00 Locked
    stg‐glorifi.com                    Active    11/4/2023 Off              $0.00 Locked
    stg‐glorifi.io                     Active    11/4/2023 Off              $0.00 Locked
    stg‐glorifi.net                    Active    11/4/2023 Off              $0.00 Locked
    stg‐glorifi.org                    Active    11/4/2023 Off              $0.00 Locked
    stg‐glorifi.us                     Active    11/4/2023 Off              $0.00 Locked
    tennesseeglorifi.com               Active    3/30/2027 Off           $168.00 Locked
    testglorifi.com                    Active    9/20/2023 Off           $266.00 Locked
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    texasglorifi.com                Active       3/30/2027 Off           $253.00 Locked
    tst‐glorifi.io                  Active       1/26/2027 Off             $0.00 Locked
    utahglorifi.com                 Active       3/30/2027 Off           $193.00 Locked
    vermontglorifi.com              Active       3/30/2027 Off           $237.00 Locked
    virginiaglorifi.com             Active       3/30/2027 Off           $194.00 Locked
    washingtonglorifi.com           Active       3/30/2027 Off           $136.00 Locked
    westvirginiaglorifi.com         Active       3/30/2027 Off            $27.00 Locked
    wisconsinglorifi.com            Active       3/30/2027 Off           $146.00 Locked
    wyomingglorifi.com              Active       3/30/2027 Off           $178.00 Locked
